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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
 KMT:MKP/TH/MJL                                       271 Cadman Plaza East
 F. #2017R01840                                       Brooklyn, New York 11201



                                                      March 1, 2019


 By Hand and ECF

 The Honorable Nicholas G. Garaufis
 United States District Judge
 United States District Court
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:     United States v. Keith Raniere, et al.
                        Criminal Docket No. 18-204 (S-1) (NGG) (VMS)

 Dear Judge Garaufis:

                 The government respectfully submits this letter to notify the Court regarding a
 potential conflict involving counsel for defendants Keith Raniere and Clare Bronfman. This
 potential conflict arises from the fact that an attorney for Raniere and an attorney for Bronfman
 are closely related to each other.

                The government advises the Court of this information pursuant to its obligation
 under Second Circuit law so the Court may conduct the appropriate inquiry pursuant to United
 States v. Curcio, 680 F.2d 881, 888-90 (2d Cir. 1982). See, e.g., United States v. Stantini, 85
 F.3d 9, 13 (2d Cir. 1996); United States v. Malpiedi, 62 F.3d 465, 467 (2d Cir. 1995).

                The government notes the Court’s familiarity with the charges in this case and the
 prior Curcio hearing held for Raniere and does not reiterate that background here. Additionally,
 the government incorporates by reference the law set forth in its Curcio motion, dated November
 30, 2019 (Dkt. No. 210).

   I.   Defendants’ Representation Before the Court

                On April 13, 2018, Marc A. Agnifilo, Esq., Teny Rose Geragos, Esq., and Jacob
 Kaplan, Esq., attorneys with the law firm Brafman & Associates, P.C., filed notices of
 appearance on behalf of the defendant Keith Raniere. On April 10, 2018 and April 23, 2018,
 respectively, Paul DerOhanessian, Esq. and Danielle Renee Smith, Esq., attorneys from the law
 firm DerOhannesian & DerOhannesian, also filed notices of appearance on behalf of defendant
 Raniere.
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                On July 24, 2018, Susan R. Necheles, Esq., Kathleen Elizabeth Cassidy, Esq., and
 Gedalia Moshe Stern, Esq., attorneys with the law firm Hafetz & Neches LLP, filed notices of
 appearance on behalf of the defendant Clare Bronfman. On September 27, 2018, Alexandra A.E.
 Shapiro, Esq. and Fabien Manohar Thayamballi, Esq., attorneys with the law firm Shapiro Arato
 LLP, also filed notices of appearance on behalf of defendant Bronfman. On February 27, 2018,
 Mark J. Geragos, Esq. also filed a notice of appearance on behalf of Bronfman.

                 On March 1, 2019, Cassidy informed the government that Mark Geragos was
 replacing Necheles as lead trial counsel for Bronfman. The government is unclear as to what, if
 any, role the attorneys from Hafetz & Necheles LLP will have on this case going forward.

  II.   Potential Conflicts Based on Personal Interest

                  Rule 1.7 of the New York Rules of Professional Conduct (the “New York Rules”)
 provides that a lawyer “shall not represent a client if a reasonable lawyer would conclude that . . .
 there is a significant risk that the lawyer’s professional judgment on behalf of a client will be
 adversely affected by the lawyer’s own . . . personal interests,” absent other circumstances,
 including the client’s “informed consent.” The Comment to Rule 1.7, under the heading
 “Personal-Interest Conflicts,” states:

                When lawyers representing different clients in the same
                matter . . . are closely related, there may be a significant risk that
                client confidences will be revealed and that the lawyer’s family
                relationship will interfere with both loyalty and professional
                judgment. As a result, each client is entitled to know of the
                existence and implications of the relationship between the lawyers,
                before the lawyer agrees to undertake the representation. Thus, a
                lawyer who has a significant intimate or close family relationship
                with another lawyer ordinarily may not represent a client in a
                matter where the other lawyer is representing another party, unless
                each client gives informed consent . . . .

 Rule 1.7 of the New York Rules mirrors Rule 1.7 of the American Bar Association Model Rules
 of Professional Conduct (the “Model Rules”). The Model Rules make the same admonition in
 substantially the same words and specifically state in the Comment that “a lawyer related to
 another lawyer, e.g., as parent [or] child . . . ordinarily may not represent a client in a matter
 where that lawyer is representing another party.”

                  Courts within the Second Circuit have frequently cited to state rules of
 professional responsibility and the Model Rules in identifying potential conflicts of interest in
 attorney representation, including for purposes of conducting Curcio hearings. See, e.g., United
 States v. Jiang, 140 F.3d 124, 127 (2d Cir. 1998) (citing Model Rules); Grand Jury Subpoena
 Served Upon Doe, 781 F.2d 238, 248 n. 6 (2d Cir. 1986) (citing Model Rules); United States v.
 Chinnici, 17-CR-77, 2018 WL 3435066, at *3 (D. Vt. July 17, 2018) (citing Vermont rules of
 professional conduct); United States v. DiScala, 14-CR-399 (ENV), 2017 WL 6623985, at *3
 (E.D.N.Y. Dec. 28, 2017) (citing New York Rules).




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 II.    Analysis

                  Raniere’s attorney, Teny Geragos, and Bronfman’s attorney, Mark Geragos, both
 face potential conflicts of interest. There is a risk that because they are father and daughter, their
 duties of judgment and loyalty may be impaired. For example, there is a risk that they could
 reveal client confidences to one another. There is also a risk that the relationship between them
 could affect their legal advice, because either one of them may be incentivized to make strategic
 decisions that would not be in his or her own client’s best interests out of fear of harming the
 other’s client or the other’s professional reputation. This is especially true given the high profile
 nature of this case. As examples, strategic advice that could be affected by the relationship
 between Teny Geragos and Mark Geragos might include: (1) whether one client should seek
 leniency by cooperating against the other, (2) whether a client should testify in his or her own
 defense at trial, where such testimony might implicate the other, (3) whether to elicit testimony
 from witnesses on direct or cross-examination if that testimony might implicate the other’s
 client, and (4) whether to make motions that could be adverse to the other client’s interests.

                 The government is not aware of a case addressing the unique situation before the
 Court; however, cases about divided loyalties, including where one co-defendant is paying
 another’s legal fees (which was the subject of the initial Curcio hearings in this matter), are
 illustrative. See, e.g., Wood, 450 U.S. at 270 (“One risk is that the lawyer will prevent his client
 from obtaining leniency by preventing the client from offering testimony against his former
 employer or from taking other actions contrary to the employer’s interest.”); Amiel v. United
 States, 209 F.3d 195, 198–99 (2d Cir. 2000) (reasoning that if trial counsel advised defendant not
 to testify even though testifying was in the best interests of the defendant, to avoid inculpating
 the payor of counsel’s fees, “these facts . . . would entitle appellant to relief [on an ineffective
 assistance claim] on the ground that trial counsel abdicated his duty of loyalty by permitting a
 third party who paid his fees to influence his professional judgment in representing [the
 defendant]” (citations omitted)).

               Therefore, a Curcio inquiry is appropriate to determine, as to Raniere and
 Bronfman, (i) whether they each understand the potential conflict raised by Teny Geragos and
 Mark Geragos’s familial relationship; (ii) the nature and extent of that conflict; and (iii) whether
 each defendant is willing and able to make a knowing and voluntary waiver of the conflict.1




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                The government also notes that Agnifilo and Teny Geragos (together) and Mark
 Geragos currently represent co-defendants in another criminal matter, United States v. Kingston,
 18-CR-365 (D. Utah), which has received some media attention. The government has inquired
 about whether there are any financial arrangements between Agnifilo and Teny Geragos
 (together) and Mark Geragos on either case and all counsel have advised that there are not.


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                                         CONCLUSION

                For the foregoing reasons, the government respectfully requests that the Court
 notify the defendants of the potential conflicts described above and conduct an appropriate
 inquiry pursuant to Curcio.

                                                       Respectfully submitted,

                                                       RICHARD P. DONOGHUE
                                                       United States Attorney

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